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               IN THE UNITED STATES DISTMCT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


UNITED STATES OF AMERICA

V.                                             CRIMINAL ACTION FILE

HERBERT JONATHAN CASTILLO                      NO. 1:16-CR-341-MHC-CMS
JUAREZ and PAOLA
VALENZUELA AREVALO,

       Defendants.



                                       ORDER

       This action comes before the Court on the Final Report and

Recommendation ("R&R") of Magistrate Judge Catherine M. Salinas [Doc. 323]

recommending that the following motions be denied: Valenzuela's Preliminary

Motion to Suppress Statements [Doc. 175]; Valenzuela's Preliminary Motion to

Suppress Evidence [Doc. 176]; Castillo's Initial Motion to Suppress [Doc. 183];

and Defendants' Motions to Exclude "Photo Show-Up" and In-Court Eyewitness


Identification [Docs. 187 & 223]. The Order for Service of the R&R [Doc. 324]

provided notice that, in accordance with 28 U.S.C. § 636(b)(l), the parties were

authorized to file objections within fourteen (14) days of the receipt of that Order.
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          On January 11, 2019, Defendants filed their "Joint Objections" to the R&R

[Doc. 344] ("Defs.5 Objs."). However, Castillo previously asked for an additional

thirty (30) days in which to file his own objections to the R&R, and joined

Valenzuela's objections "in an abundance of caution." Id at 1 n.l. The Court


granted Castillo and additional period of time, to and through February 25,2019,

in order to file any separate objections [Doc. 345]. However, no additional

objections were filed by Castillo, so the Court considers the objections to be jointly

raised.


I. LEGAL STANDARD

      In reviewing a Magistrate Judge's R&R, the district court "shall make a de

novo determination of those portions of the report or specified proposed findings

or recommendations to which objection is made." 28 U.S.C. § 636(b)(l). "Parties

filing objections to a magistrate's report and recommendation must specifically

identify those findings objected to. Frivolous, conclusive, or general objections

need not be considered by the district court." United States v. Schultz, 565 F.3d

1353, 1361 (11th Cir. 2009) (quoting Marsden v. Moore, 847F.2d 1536, 1548

(11th Cir. 1988)). If there are no specific objections to factual findings made by

the Magistrate Judge, there is no requirement that those findings be reviewed de

novo. Garvev v. Vaughn, 993 F.2d 776, 779 n.9 (1 1th Cir. 1993) (citations
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omitted). Absent objection, the district court judge "may accept, reject, or modify,

in whole or in part, the findings or recommendations made by the magistrate

judge," 28 U.S.C. § 636(b)(l), and may accept the recommendation if it is not

clearly erroneous or contrary to the law. FED. R. CRIM. P. 59(a). In accordance


with 28 U.S.C. § 636(b)(l) and Rule 59 of the Federal Rules of Criminal

Procedure, the Court has conducted a de novo review of those portions of the R&R


to which Defendant objects and has reviewed the remainder of the R&R for plain

error. See United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983).

II. DISCUSSION

      A. IVlotions to Suppress Statements and Evidence Taken in
             Switzerland


      It is undisputed that at the time of their arrests by Swiss authorities in

August 2016 on attempted trafficking of cocaine, Defendants were citizens and

residents of Guatemala and had no attachment to the United States. Defendants

contend that they nevertheless have standing to object to the search, seizure, and


taking of statements by Swiss authorities because agents of the United States "were

substantially involved so as to convert the seizure and search into a joint United

States/Switzerland law enforcement venture." Defs.' Objs. at 3. The Magistrate


Judge concluded that: (1) because the Fourth Amendment does not apply to

searches conducted outside the United States where the person has no significant
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connection to the United States, Defendants have no standing under the Fourth

Amendment to challenge the admission of evidence gathered by Swiss law

enforcement officers after their arrest in Switzerland; (2) even if Defendants had

standing to challenge the evidence seized by Swiss authorities, the Fourth

Amendment's exclusionary rule would not apply to the arrests and searches made


by Swiss law enforcement officers in Switzerland; and (3) Defendants have made

no showing that the facts in this case shock the conscience or that the United States

and Switzerland participated in a "joint venture," such that a Fourth Amendment


challenge would lie. R&R at 8-10.

      In their objections, Defendants maintain they have standing to challenge the

search and seizure undertaken by Swiss authorities because "[i]t is hard to believe"

that those authorities were not acting "jointly with and under the direction of

United States Homeland Security ("HSI") agents. Defs.' Objs. at 3-4. Defendants

also complain that the Magistrate Judge improperly denied them an evidentiary

hearing on their motions to suppress. Id. at 2.


      The Supreme Court has held that the Fourth Amendment does not apply to

searches of a nonresident alien conducted outside the United States where the


person has no voluntary attachment to the United States. United States v.


Verduso-Urquidez, 494 U.S. 259, 274-275 fl990). See also United States v.


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Rosenthal, 793 F.2d 1214, 1230-123 1 (11th Cir. 1986) ("Evidence obtained by

foreign police officers from searches carried out in their own countries is generally

admissible in American courts regardless of whether the search complied with the

Fourth Amendment."). Consequently, the Magistrate Judge's determination that


Defendants have no standing to challenge the search and seizure of evidence by

Swiss authorities in Zurich, Switzerland is correct.

      There are two exceptions recognized by the Eleventh Circuit where this

Court could apply the Fourth Amendment exclusionary rule to foreign searches:

"(I) if the foreign officers' conduct shocks the conscience of the American court


and (2) if American officials participated in the foreign interrogation, or if the

foreign authorities were acting as agents for their American counterparts, also


known as the joint venture doctrine." United States v. Frank, 599 F.3d 1221, 1228-

1229 (11th Cir. 2010) (internal punctuation and citations omitted). The first

"exception is based on a federal court's inherent supervisory powers over the


administration of federal justice." United States v. Emmanuel, 565 F.3d 1324,

1330 (11th Cir. 2009) (internal quotation and citations omitted). The second

exception "is based on a defendant's Fourth Amendment rights." Id.


      Defendants contend that both exceptions apply. Defs.' Objs. at 3-5. First,


Defendants summarily conclude that "[i]t shocks the conscience to subject foreign
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nationals to extreme punishments for alleged violations ofU.S. drug laws" which


is akin to "taxation without representation." ]A at 5. However, in this case, it is


undisputed that, when Defendants arrived at the Zurich airport, Swiss police

officials determined that Defendants were carrying narcotics inside their bodies

based upon field interviews and a body scan, and that Defendants later passed

"approximately fifty (50) capsules each that was field tested positive for cocaine."

HSI Report of Investigation [Doc. 188-2]. This Court agrees with the Magistrate

Judge that "there is nothing shocking about Swiss officials arresting narcotics

traffickers carrying cocaine in their bodies" or "examinpng] people in the airport

for narcotics." R&Rat9.


      Second, Defendants assert that HSI agents "were substantially involved" in


the search and seizure by Swiss officials based solely upon an email that was sent

by a HSI special agent to the Swiss police alerting them to the fact that Defendants

would be arriving that day at the Zurich airport and might be carrying cocaine.

Defs/ Objs. at 3-4. Although there is some evidence to indicate that Swiss

officials never received this email "tip" because it got caught in a spam email box,


see HSI Report of Investigation, the tip, even if received, would not constitute


American officials becoming "substantial participants" in the search or that the

Swiss authorities were "acting as agents" of the HSI. Rosenthal, 793 F.2d at 1231;
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see also United States v. Behety, 32 F.3d 503, 511 (1 1th Cir. 1994) ("Agent Von

Bresen's communication to Guatemalan authorities regarding [the defendants'

arrival on a yacht] and plans to export cocaine is insufficient to bring the search

within the [joint venture] exception."); United States v. Hawkins, 661 F.2d 436,

455-56 (5th Cir. 1981) (finding that DEA's notice to Panamanian authorities

regarding the suspected crash of an airplane carrying cocaine is insufficient to

trigger Fourth Amendment protections); United States v. Heller, 625 F.2d 594,

599-600 (5th Cir. 1980)1 (finding that a tip from United States officials to British

police regarding the defendant was "peripheral at most" to the defendant's arrest


and search); United States v. Morrow. 537 F.2d 120, 140 (5th Cir. 1976) ("Normal

lines of communication between the law enforcement agencies of different


countries are beneficial without question and are to be encouraged. Criminal


conspiracies, as this case amply demonstrates, are sometimes international in


scope, and the routine transmittal of the name and telephone number of a possibly




  The Eleventh Circuit has adopted as binding precedent the decisions of the
former Fifth Circuit rendered prior to October 1, 1981. Bonner v. City ofPrichard,
661 F.2d 1206, 1209 (llth Cir. 1981) (enbanc).




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valuable informant across national borders clearly is permissible under the fourth


amendment.").


      Consequently, Defendants' objections to the Magistrate Judge's

recommendation regarding the requested suppression of statements and evidence


that occurred in Switzerland are OVERRULED.2

      B. Motions to Suppress Testimony of Photographic Identifications

      Defendants object to the Magistrate Judge's recommended denials of their

motions to suppress photographic identification testimony from four co-

Defendants. Defs.' Objs. at 6-12.


      In assessing the constitutionality of a district court's decision to admit
      an out-of-court identification, we apply a two-step process. United
      States v. Diaz, 248 F.3d 1065, 1102 (llth Cir. 2001). We first
      examine whether the identification procedure was unduly suggestive.
      Id. A pretrial identification procedure is impermissibly suggestive
      "when the police have arranged suggestive circumstances leading the
      witness to identify a particular person as the perpetrator of the crime."
      [United States v.1 Elliot, 732 F.3d [1307,] 1309-10 [(llth Cir. 2013)].



2 Because Defendants' allegations are conclusory with respect to the two
exceptions to the general rule that the Fourth Amendment does not apply to a
search of a nonresident alien conducted outside the United States, the Magistrate
Judge also did not err in denying an evidentiary hearing on the motions to suppress
statements and evidence. See United States v. Richardson, 764 F.2d 1514,1527
(11th Cir. 1985) ("A court need not act upon general or conclusory assertions
founded on mere suspicion or conjecture, and the court has discretion in
determining the need for a[n evidentiary] hearing.").
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      Where no improper police conduct exists, exclusion of the out-of-
      court identification is unnecessary. Id. at 1310.


      If we conclude, however, that the identification procedure was unduly
      suggestive, we then consider whether—given the totality of the
      circumstances—the identification was reliable nonetheless. Diaz, 248
      F.3d at 1102. Under this second step, we consider five factors in
      determining the reliability of a witness's identification: opportunity to
      view, degree of attention, accuracy of the description, level of
      certainty, and length of time between the crime and the identification.
      Neil v. Bissers, 409 U.S. 188, [198] (1972).

United States v. Williams, 688 F. App'x 895, 896-97 (1 1th Cir. 2017) (parallel

citations omitted). Because Defendants' objections involve photographic

identifications made by four co-Defendants, this Court will review those objections

individually.

                1. Clifford Waldthausen

      This Court agrees with the Magistrate Judge that Defendants' challenge to

Waldthausen's identification is frivolous. R&R at 19-20. After Waldthausen's

arrest, it was Waldthausen himself who admitted ingesting drugs for transport,

advised the special agent that he was working for a married couple known to him

personally as Paola and Jonathan, voluntarily pulled up the Facebook accounts for

the couple on his own phone, and showed the special agent the Facebook profile

photographs of Defendants. Tr. of Aug. 28, 2018, Evidentiary Hr'g [Doc. 289]

("Tr.") at 13-14, 31. Defendants cite no case where a court held that an
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individual's out-of-court identification was unduly suggestive or unreliable in the

situation where the individual volunteers information concerning his personal


knowledge of the identity of the person whose photograph the suspect then

produces voluntarily on his own phone. Defs.5 Objs. at 6, II.3


             2. Luis Sarti-Gomez


      Defendants contend that the Magistrate Judge's recommendation as to the

identification made by Sarti should be rejected on the basis that it was unduly

suggestive (because he was shown only a single photograph) and that his

description of Defendant Valenzuela was inaccurate. Defs.' Objs. at 7, 11.


While it is tme that courts have concluded that showing a witness only one

photograph is unduly suggestive, Manson v. Brathwaite, 432 U.S. 98, 108-09


(1977); United States v. Canninston, 729 F.2d 702, 711 (11th Cir. 1984), courts



3 The fact that Waldthausen gave no prior description of Defendants prior to
volunteering their photographs is not an indication ofunreliability where
Waldthausen provided detailed information to the agent regarding his personal
knowledge of Defendants:

      He told me that he was working for a man and wife named Paola and
      Jonathan, and that he was aware of their Facebook accounts, and he
      showed me their Facebook accounts, and on each of their Facebook
      accounts, there were profile pictures, and he indicated that those
      profile pictures were the real pictures of two individuals he was
      working for[,] Paola and Jonathan.

Tr. 13.

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still proceed to analyze whether the totality of the circumstances establish

reliability to determine whether the evidence should be suppressed. See, e.g.,


United States v. Walls, 237 F. App'x 599, 601 (1 1th Cir. 2007) (assuming, without


deciding, that the use of single photograph was unduly suggestive, but nevertheless

denying suppression because the evidence demonstrated that the identification was

reliable).

       The totality of the circumstances in this case establish reliability. At the

time of his arrest, Sarti stated he met with "Paola" and "Tito" three to four times,


gave a partial description of'Paola," and identified the Facebook profile pictures

that Waldthausen previously selected as the Defendants. Tr. at 15-17. Sarti then


made monitored telephone calls and sent text messages to Defendants, there were


photographs ofSarti on Defendant's phones, and Sarti volunteered information that

Defendants were traveling to Switzerland to smuggle drugs (information that

proved accurate). Id. at 68-69. In addition, Sarti had the opportunity to view

Defendants on three to four occasions during the commission of a crime, he was


certain as to his identification of the Defendants, and the time between his personal

contact with Defendants and his identification was not long. Biggers, 409 U.S. at

198. Moreover, because Sarti knew Defendants prior to being shown the


photographs, the likelihood ofmisidentification was substantially less. See United


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States v. Burgos, 55 F.3d 933, 942 (4th Cir. 1995) (finding that the likelihood of

misidentification is substantially less when a witness is asked to identify someone

with whom he is acquainted, rather than a stranger).


              3. Angel Bojorquez-Amaya


        The special agent in this case during a proffer session with co-Defendant

Bojorquez showed him a stack oftwenty-five photographs of various individuals,

both men and women, one at a time, who the agent suspected were involved in the


drug conspiracy, including official photographs of Defendants obtained from the

local police in Guatemala, none of which resembled one another. Tr. at 20-21, 39-


40. Bojorquez immediately identified the picture of Defendant Valenzuela as

 Claudia," a woman that he was trafficking drugs for, and the picture of Defendant

Castillo as Claudia's husband, who Bojorquez was also working for. Tr.at 22,70-


72.


        Defendants contend that the stack of photographs presented to Bqjorquez

was "unduly suggestive" because Defendant Valenzuela was "only one of six


women depicted in the group of photos, and the other five women lacked similar

facial features, body types or hairstyles[.]" Defs.' Objs. at 7. This Court agrees

with the Magistrate Judge that there was nothing suggestive about this procedure.

R&R at 23. See United States v. Jones, 872 F.3d 483, 492 (7th Cir. 2017) (finding


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nothing unduly suggestive where agent placed the defendant's photograph in the

top three of a stack of six photos); United States v. Triplett, 104 F.3d 1074, 1080

(8th Cir. 1997) (concluding that identification procedure was not unduly suggestive

where a stack of photographs were in random order and detectives did not indicate

that any particular photo should be selected); United States v. Femandez-Flores,

No. 10CR312 WQH, 2010 WL 3212139, at *6 (S.D. Cal. Aug. 12, 2010)

(concluding that the identification was not unduly suggestive where "the twenty-

eight photos were taken and presented in a similar manner . .. and there was no


efforts to suggest one photo over another."); United States v. Palmer, No. CRIM


89-0036, 1989 WL 1170001, at *9 (D.D.C. June 8, 1989) (concluding that the

procedure was not unduly suggestive where a stack of at least twelve photographs


were shown to each witness, they were asked to identify only those persons they


knew were part of a drug trafficking organization, and there was never a


misidentification).

      In addition, even if the procedure was unduly suggestive, the totality of the

circumstances indicates that Bojorquez's identification of Defendants was reliable:


      [Bqjorquez] spent like an evening at a nightclub with Claudia. He
      also met Claudia and her husband, the Defendants here today, at an
      office or empty apartment in Guatemala where they discussed the
      drug trafficking trip, and he also met them, I think, either outside or
      nearby one of the travel agencies they used to book the dmg


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      trafficking trips, and then he met Ms., Valenzuela Arevalo again at her
      home the day that he smuggled dmgs into the United States.

Tr. at 71. There were also photographs ofBojorquez on Defendants' cell phones.


Id,at 72.


             4. Franco Teza-Mendez


      The special agent also spoke at a proffer session with Co-Defendant Teza,

who Bojorquez said introduced him to Claudia. Tr. at 22. The agent showed Teza

a stack of about ten photographs of various individuals, including both men and

women, one at a time, who the agent suspected were involved in the dmg


conspiracy, none of whom resembled one another, and which included official


photographs of Defendants obtained from the local police in Guatemala. Id. at 23.

Teza immediately identified the photograph of Defendant Valenzuela as a woman

he knew as "Licenciada," who was introduced to him by a man named "Pepe" for


whom he was trafficking drugs. Id. at 24-25. Teza also immediately identified the

photograph of Defendant Castillo as "Jona," who was at the same meeting. Id. at


25, 73-74.


      Defendants contend that the stack of photographs provided to Teza was

"more egregious than those used with" Bojorquez because there were only ten


photographs and two women represented, one of whom bore no resemblance to


Valenzuela. Defs/ Objs. at 8. However, for the same reasons as discussed with

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respect to the photo identification process used with Bojorquez, this Court agrees

with the Magistrate Judge that the procedure was not unduly suggestive. R&R at


23. In addition, as with Bojorquez, even if the procedure was unduly suggestive,

the totality of the circumstances indicates that Teza's identification of Defendants

was reliable. Tr. at 22-25. There were also text messages on Teza's cell phone


discussing the airplane trip that Defendants took to Switzerland prior to their arrest

and photographs ofTeza on Defendants' own cell phones. Id. at 73-74.


      Therefore, Defendants' objections to the Magistrate Judge's

recommendation that testimony regarding the various photographic identifications

should not be suppressed are OVERRULED.

III. CONCLUSION

      Accordingly, after a de novo review of those portions of the R&R to which

Defendants object, the Court OVERRULES their objections [Doc. 344]. Finding

no clear error in the remaining portions of the R&R, the Court ADOPTS the R&R

[Doc. 323] as the Opinion and Order of the Court.

      It is hereby ORDERED that Valenzuela's Preliminary Motion to Suppress

Statements [Doc. 175]; Valenzuela's Preliminary Motion to Suppress Evidence

[Doc. 176]; Castillo's Initial Motion to Suppress [Doc. 183]; and Defendants'




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Motions to Exclude "Photo Show-Up" and In-Court Eyewitness Identification

[Docs. 187 & 223] are DENIED.

      It is further ORDERED that the time between the date the Magistrate Judge

certified Defendant ready for trial on January 11, 2019, and the issuance of this

Order, shall be excluded in calculating the date on which the trial of this case must

commence under the Speedy Trial Act because the Court finds that the delay is for

good cause, and the interests of justice in considering Defendant's objections to the

Report and Recommendation outweigh the right of the public and the right of the

Defendant to a speedy trial, pursuant tol8U.S.C.§3161,^ seq. Moreover, as


proceedings involving co-Defendant Lougee are still pending before the Magistrate

Judge, this Court need not schedule the trial for Defendants Valenzuela and

Castillo at this time. See 18 U.S.C. § 3161(h)(6) (excluding for speedy trial

purposes "[a] reasonable period of delay when the defendant is joined for trial with

a codefendant as to whom the time for trial has not run and no motion for


severance has been granted.").


      IT IS SO ORDERED this             day of April, 2019.




                                       MARK H. COHEN
                                       United States District Judge


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